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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                                CRIMINAL ACTION NO. 4:06CR104-P-B

JENNIFER YVONNE BERRY,
JOHNNIE LEE WINFIELD, AND
REHAB SOURCE, INC.,                                                             DEFENDANTS.

                                         CONTINUANCE

        This matter comes before the court upon Defendant Johnnie Lee Winfield’s Unopposed

Motion to Continue Trial and to Extend Pretrial Deadlines [20-1, 21-1]. After due consideration of

the motion, the court finds as follows, to-wit:

        Trial is currently set for October 2, 2006. Defense counsel for Johnnie Lee Winfield avers

he needs additional time to prepare for his client’s defense since he was just retained on August 1,

2006. Defense counsel also points out that the other two defendants in this action do not yet have

counsel on record. The Government has no objection to the continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from October 2, 2006 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

        IT IS THEREFORE ORDERED AND ADJUDGED that:

        (1) Defendant Johnnie Lee Winfield’s Unopposed Motion to Continue Trial and to Extend


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Pretrial Deadlines [20-1, 21-1] is hereby GRANTED;

       (2) Trial of this matter is continued as to all defendants until Monday, December 4, 2006 at

       9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from October 2, 2006 to December 4, 2006 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is November 13, 2006; and

       (5) The deadline for submitting a plea agreement is November 20, 2006.

       SO ORDERED this the 21st day of August, A.D., 2006.

                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE




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